       Case 22-14616-nmc         Doc 139     Entered 04/14/23 14:16:57        Page 1 of 2




   1

   2

   3
   Entered on Docket
   4April 14, 2023
___________________________________________________________________
   5

   6

   7    LOUIS M. BUBALA III
        Nevada Bar No. 8974
   8    KAEMPFER CROWELL
        50 W. Liberty Street, Suite 700
   9    Reno, Nevada 89501
        Telephone: (775) 852-3900
  10    Facsimile: (775) 327-2011
        Email: lbubala@kcnvlaw.com
  11
        Attorney for Creditor Michael A. Parentis
  12
  13                              UNITED STATES BANKRUPTCY COURT

  14                                       DISTRICT OF NEVADA

  15   In re:                                             Case No. BK-22-14616-nmc
                                                          Chapter 7
  16   ROBIN LINUS LEHNER; DONYA TINA
       LEHNER;                                            ORDER GRANTING EX PATRE
  17                                                      APPLICTION FOR EXAMINATION OF
                        Debtor(s).                        FRANK C. MUGGIA PERSUTANT TO
  18                                                      BANKRUPTCY RULE 2004

  19            Creditor Michael A. Parentis (“Creditor”) filed on April 13, 2023 an Ex Parte Application

  20   for Examination of Frank C. Muggia Pursuant to Bankruptcy Rule 2004 (“the application”). The

  21   Court, having reviewed the application, being failure with and taking judicial notice of the matters

  22   in the bankruptcy case, and good cause appearing GRANTS the application.

  23            IT IS HEREBY ORDERED that Frank C. Muggia shall appear for a Rule 2004

  24   examination on or after April 28, 2023, regarding matters that are within the permitted scope of


       3400750_1.docx                                                                            Page 1 of 2
     Case 22-14616-nmc        Doc 139     Entered 04/14/23 14:16:57        Page 2 of 2




1    Rule 2004, including without limitation the acts, conduct, property and Debtor Robin Lehner’s

2    right to a discharge of the Debtor’s debt owed to Dr. Parentis. Counsel for Creditor shall issue a

3    separate subpoena, including a request for production of documents, pursuant to Rule 9016 of the

4    Federal Rules of Bankruptcy Procedure.

5            IT IS FURTHER ORDERED that the examination may be continued from day to day until

6    concluded and that the examination will be recorded by a certified court reporter by stenographic

7    means and may also be recorded by video-graphic means.

8            IT IS SO ORDERED.

9    Submitted by:

10   Thursday, April 13, 2023                        KAEMPFER CROWELL

11
                                               By:
12                                                   Louis M. Bubala III, SBN 8974

13                                                   Attorney for Creditor Michael A. Parentis

14

15

16

17

18
19

20

21

22

23

24

     3400750_1.docx                                                                          Page 2 of 2
